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UNITED STATES DISTRICT COURT                                                               : ~ I' : \ '.   l. \' FILED
SOUTHERN DISTRICT OF NEW YORK
                                                          -   X                    • 1   i .i i LED:

STRUCTURED ASSET SALES , LLC ,

                                 Plaintiff ,                                    18 Civ . 5839 (LLS)

            - against -                                                                  ORDER

EDWARD CHRISTOPHER SHEERAN , p/k/a
ED SHEERAN , SONY/ATV MUSIC
PUBLISHING , LLC , ATLANTIC RECORDING
CORPORATION d/b/a ATLANTIC RECORDS,
BDI MUSIC LTD. , BUCKS MUSIC GROUP LTD .,
THE ROYALTY NETWORK , INC ., DAVID
PLATZ MUSIC (USA) INC., AMY WADGE,
JAKE GOSLING and DOES 1 THROUGH 10,

                                 Defendants.
-   -   -    -   -   -   -   -    -   -   -   -   -   -   X
                                                          BACKGROUND

            The Court assumes the parties '                           familiarity with the facts

and prior proceedings , including Structured Asset Sales, LLC v .

Sheeran , 433 F . Supp . 3d 608 , 609                             (S . D. N.Y . 2020)     (granting in

part and denying in part plaintiff ' s motion to compel )                                          (0kt . No.

144 ) ; Structured Asset Sales , LLC v . Sheeran, 559 F . Supp . 3d

172 , 173 (S.D . N. Y. 2021)                          (Opinion & Order on defendants ' Motion

in limine)               (0kt . No . 197) ; and Griffin v . Sheeran , 351 F . Supp.

3d 492 , 494              (S . D. N. Y. 2019)              (asserting a claim that TOL

infringes the copyright in LGO) .

            In response to this Court 's September 9 , 2021 Order , SAS ' s

expert musicologists , Dr . Covach and Or . Everett, filed amended

reports :            ( 1) a Revised Cova ch Report ,                    ( 2) a Revised Co v a ch


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Rebuttal Report , and (3) a Revised Everett Report            (collectively ,

the "Revised Reports " ) . Dkt . No . 200 Exs . 3 ,    5,   & 7 . The

September 9 th Order held that " the Deposit Copy is the sole

definition of the elements included in the protection of

copyright " and , consequently , the LGO Sound Recording " is

inadmissible in any way which might confuse the jury into

thinking it represents what is protected by copyright . " 0kt . No.

197 at 2 - 3 . The Order directed the experts to delete " all

references to the Gaye sound recording ," all references to prior

art , as " the proof as to the existence of prior art shall be

only that submitted by defendants ," and all "opinions

unsupported by facts , or suggesting legal conclusions . " Id . at

3-4 .

                                  DISCUSSION

   A. Renewed Motion to Exclude SAS's Experts Dr. Covach and Dr .
      Everett

        Issues raised in Sheeran ' s renewed application for in

limine rulings are disposed of as follows .

1 . The Revised Reports may use the terms "common , " " uncommon , "

   " noteworthy ," and " stylistically commonplace ." These are not

   legal conclusions but epithets characterizing a work ' s place

   on a scale of originality .

2 . The term "appropriates " is stricken from Paragraph 20 of the

   Revised Covach Report because the term has a legal meaning in



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  the copyright field. An unlawful appropriation is one where

  " the second work bears ' substantial similarity '        to protected

  expression in the earlier work. " Castle Rock Ent ., Inc . v .

  Carol Pub . Grp .,   Inc ., 150 F . 3d 132 , 137   (2d Cir . 1998). An

  expert may not opine that a defendant ' s work is substantially

  similar to that of the plaintiff . That is for the jury to

  decide .

3 . All references to the Gaye sound recording are to be stricken

  because they violate the Court ' s Order that SAS "must delete

  all references to the Gaye sound recording " as " comparisons of

  elements in Thinking Out Loud which are similar to elements in

  the Gaye sound recording (but not the Deposit Copy) will not

  be allowed ." 0kt. No . 197 at 3 . There is no ambiguity in that

  direction , and it is the lawyer ' s responsibility to see that

  his client , and retained experts , comply with it . A report

  containing such references will be excluded .

4. Sheeran raises several issues alleging that SAS 's experts did

  not remove all references to prior art in compliance with the

  Court ' s Order that " [o]ne of plaintiffs experts having ignored

  the issue of prior art , and the other having only made

  inquiries so superficial as to amount to no research at all ,

  the proof as to the existence of prior art shall be only that

  submitted by defendants ." 0kt . No . 197 at 4 .



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      References to prior art will not be accepted when used to

prove that an element of LGO is unusual or similar to that of

TOL . Thus , the prior art examples listed on Pages 9- 10 , Paragraph

7 of the Revised Everett Report , are stricken , except for "Hurdy

Gurdy Man " by Donovan , which is admissible because it is offered

into evidence by Sheeran ' s expert .

      References to prior art are acceptable when they are used

to illustrate general principles of musicology. The Revised

Everett Report can mention the prior art on Pages 12 - 13 ,

Paragraph 3 because the songs are being used as examples of the

different functions a chord progression may have within the

formal structure of the song . The only song that is used to show

the similarity between LGO and TOL is the Commodores ' "Easy , "

which is introduced by Sheeran ' s expert and may thus also be

discussed in the Revised Everett Report.

      The study on Pages 3- 4 , Paragraphs 6- 7 of the Everett

Report is acceptable , for it describes chord progressions , not

prior art .

   B . Motion for Summary Judgment

      1) General Legal Standards

      Summary judgment is warranted if, based upon admissible

 evidence , "the movant shows that there is no genuine dispute as

 to any material fact and the movant is entitled to judgment as a

 matter of law ." Fed . R. Civ . P . 56(a) ; see Celotex Corp . v .

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Catrett , 477 U. S . 317 , 322   (1986). In deciding a motion for

summary judgment , a Court must "construe all evidence in the

light most favorable to the nonmoving party , drawing all

inferences and resolving all ambiguities in its favor ."

Dickerson v . Napolitano , 604 F . 3d 732 , 740    (2d Cir. 2010)

     2) Legal Standard Applied to Copyright Infringement

     To establish a claim of copyright infringement , "a

plaintiff with a valid copyright must demonstrate that :          (1) the

defendant has actually copied the plaintiff ' s work ; and (2 ) the

copying is illegal because a substantial similarity exists

between the defendant ' s work and the protectable elements of

plaintiff ' s ." Peter F . Gaito Architecture , LLC v . Simone Dev .

Corp ., 602 F . 3d 57 , 63 (2d Cir . 2010) . The issue of substantial

similarity " is frequently a fact issue for jury resolution. "

Warner Bros . Inc . v. Am . Broad . Companies , Inc ., 720 F . 2d 231 ,

239 (2d Cir . 1983) . Even so , on a motion for summary judgment , a

court may determine non - infringement as a matter of law , " either

because the similarity between two works concerns only non -

copyrightable elements of the plaintiff's work , or because no

reasonable jury , properly instructed , could find that the two

works are substantially similar ." Id . at 240       (citations

omitted) .

      3) Copyright Infringement




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      SAS ' s infringement claim is based on Sheeran ' s alleged

copying of the combination of two elements from LGO ' s Deposit

Copy into TOL :    (1) the chord progression ; and (2) the particular

way in which ant i cipation is used in connection with the chord

progression (" Harmonic Rhythm " )      (collectively the "Backing

Pat t ern " ) . The parties agree that those elements , standing

a l one , are commonplace and unprotectable . Accordingly , Sheeran

argues that summary judgment dismissing the claim is appropriate

a s a matter of law because (i) the combination of two

unprotectable elements is not sufficiently numerous or original

to constitute an original work entitled to copyright protection

under the " selection and arrangement " theory of liability ; and

(ii) LGO ' s backing pattern is not identical or nearly identical

to that in TOL .

      i)   Copyrightability of the combination of the chord
           progression and harmonic rhythm
      The law does not support Sheeran ' s contention that the

combination of LGO ' s chord progression and harmonic rhythm is

insufficiently original to warrant it copyrightable . There is no

bright - line rule that the combination of two unprotectable

e l ements is insufficiently numerous to constitute an original

work . Cf. Knitwaves , Inc . v . Lollytogs Ltd.     ( Inc . ) , 71 F . 3d 996 ,

1003 - 04   (2d Cir . 1995)   ("a work may be copyrightable even though

it is entirely a compilation of unprotectable elements . What is

protectable then is ' the author ' s original contributions '- the

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original way in which the author has ' selected , coordinated , and

arranged '   the elements of his or her work ."     (citations

omitted)) ; Rose v . Hewson , No . 17 CV 1471 , 2018 WL 626350 , at *3

(S . D. N. Y. Jan . 30 , 2018)   ("compilations of generally

unprotectable elements can be afforded copyright protection ." )

Moreover , Courts " treat the question whether particular elements

of a work demonstrate sufficient originality and creativity to

warrant copyright protection as a question for the factfinder ."

Matthew Bender & Co. v . W. Pub. Co ., 158 F . 3d 674 , 681       (2d Cir .

1998) . Therefore , " the question whether those elements in LGO

demonstrate ' sufficient originality and creativity to warrant

copyright protection '      is a factual question to be determined at

trial ." Griffin v . Sheeran , 351 F. Supp . 3d 492 , 497      (S . D. N. Y.

2019) .

      Moreover , where , as here , the parties '    experts disagree as

to whether a particular musical element is original , summary

judgment is inappropriate . See Ulloa v . Universal Music & Video

Distribution Corp ., 303 F. Supp . 2d 409 , 413 - 14     (S . D.N . Y. 2004)

( " It wou l d be improper for this Court , on a motion for summary

judgment , to draw its own conclusions from this competing

evidence regarding the originality of the Vocal Phrase. " ) . The

parties ' experts disagree as to whether the combination of the

chord progression and harmonic rhythm present in both

compositions is original and thus protectable . They squarely

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dispute whether that combination was commonplace before LGO :

SAS ' s experts opined that "the progression class shared between

[ the songs] is uncommon ," 0kt. No . 2 00 Ex. 7              <JI<_![   A . 6- 7 , whereas

Sheeran's expert opined " that the combination of commonplace

elements in LGO .                  . is found in prior art ," 0kt. No . 179 Ex .

10   <JI   26.

           Sheeran ' s expert alleges the existence of three prior

works-" Downtown ," "Since I Lost My Baby ," and "Georgy Girl "-that

use the chord progression in LGO , a I - iii - IV - V chord

progression , together with the same anticipation of chord

changes on the second and fourth chords as used in LGO .                            0kt.

No. 179 Ex. 10        <JI<_![   26 - 38 . SAS 's expert opposes the

characterization of those songs as prior art of LGO . He argues

that LGO ' s backing pattern is not present in "Downtown," its

chord progression is different from that in "Since I Lost My

Baby ," and its harmonic rhythm is on an alternative beat

compared to the one in "Georgy Girl ." Dkt . No. 200 Ex . 5                         <JI<_![   10 -

12 . The experts '              disagreement on whether the backing pattern is

sufficiently uncommon to warrant copyright protection is a

genuine dispute as to a material fact , preventing summary

judgment. Fed . R . Civ . P . 56(a)

           ii)   Substantial Similarity between LGO and TOL

           When a copyright claim is " limited to the particular

selection or arrangement" of elements , the "protection given is

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' thin ,'" becuase a "' subsequent [author] remains free to use

[ t he pub li c doma i n elements] to aid in preparing a competing

work , so long as the competing work does not feature the same

selection and arrangement. " Tu f enkian Imp . / Exp . Ventures , Inc .

v . Einstein Moomjy , Inc ., 338 F.3d 127 , 136 (2d Cir . 2003)

(quoting Feist Pub l ications , Inc . v . Rural Tel . Serv . Co ., 499

U. S . 340 , 349 (1991))   (alteration in original) . Thus ,

substantial similarity in selection and arrangement cases "will

be established only by very close copying " of the plaintiff ' s

work . Beaudin v . Ben & Jerry ' s Homemade , Inc .,    95 F . 3d 1 , 2 (2d

Ci r . 1996) ; Zalewski v . Cicero Builder Dev ., Inc ., 754 F . 3d 95 ,

1 07   (2d Cir. 2014 ) . In determining the substantial similarity of

works that have both protectable and unprotectable element s, the

Court 's a nalysi s mu st be " discerning " and we "must attempt to

extract the unprotectable elements from our consideration and

a sk whether the protectable elements , standing alone , ar e

substan t ially similar ." Knitwaves , Inc ., 71 F . 3d at 1002 . Even

so , t he Court i s p rin cipally guided " by comparing the contested

design ' s   ' total concept and overall feel ' with that of the

a l legedly infringed work ," Tufenkian Import/Export Ventures ,

Inc ., 338 F . 3d at 133 ; Knitwaves , Inc ., 71 F . 3d at 1003 .

       The parties ' expert mus i cologist s have opined on the

s i mi lar i ty between the musical elements in LGO ' s and TOL ' s

backing patterns and have come to competing conclusions . SAS ' s

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experts opine that the backing patterns are " harmonically

equivalent ," Dkt . No . 200 Ex . 3        ~   6 , whereas Sheeran ' s expert

maintains that they are objectively different , Dkt . No . 179 Ex .

8   ~   14. Although the two musical compositions are not identical ,

a jury could find that the overlap between the songs '

combination of chord progression and harmonic rhythm is very

close . Accordingly , questions remain that are not resolvable by

summary judgment , but require trial .

         Chord Progression

         The LGO Deposit Copy features a I - iii - IV - V7          (or a 1 - 3 - 4 - 5)

chord progression . Dkt . No . 208         (Defendants '      Rule 56 . 1 Reply to

Pl aintiff ' s Rule 56 . 1 Response)       ~   32 . TOL features a I - I6 - IV - V7

chord progression . Id .     ~    33 . The "I6 " chord is a major chord and

the " iii " chord is a minor chord . Id .          ~   35 .

         The parties dispute the effect of that slight adjustment

between the chord patterns . SAS alleges that these chord

progressions are harmonically equivalent because , as illustrated

by music textbooks , the "16 " chord may substitute for the " iii"

chord "without affecting the function of the progression . " Id .                          ~


33 ; Dkt . No . 200 Ex . 5    ~   6 ; Dkt . No . 200 Ex. 7      ~   4.   Sheeran

maintains that the chord progressions are different and none of

the chord progressions in TOL are I - iii - IV - V7 . Dkt . No . 208                ~


33 ; Dkt . No . 179 Ex . 2    ~   39 .



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          Sheeran also argues that there is a significant harmonic

difference between the chord progressions because the "I6" chord

is a major chord , and the "iii" chord is a minor chord . Dkt . No .

208   ~    35 ; Dkt . No . 179 Ex. 8    ~       14 . But SAS ' s expert Dr. Everett

contends that the minor "iii" chord could be equivalent to the

major " I6" because of the "interchangeability of the two

triads ." Dkt . No . 200 Ex. 7         ~~       A. 4-5 .

          Harmonic Anticipation of Chord Changes

          The LGO Deposit Copy sets the I-iii-IV-V7 chord progression

to extend over two measures            (or bars) according to a "slow " 4/4

time signature . Dkt. No . 208          ~       41. TOL sets the I-I6 - IV-V7 chord

progression to a " fast " 4/4 time signature . Id .

          The parties dispute whether the songs' harmonic rhythms,

the timing of the chord changes in the songs, are substantially

similar. SAS claims that the harmonic rhythms are the same but

are notated using two different time signatures . Id .; 0kt . No. 3

~~    10-11.       In Sheeran ' s view , the harmonic rhythms are different

because the chord progression in LGO is played over four bars as

compared to two bars in TOL and LGO ' s Deposit Copy does not

notate a fast or slow 4/4 time , which refers to the tempo of the

song . Dkt . No . 179 Ex . 2     ~   49 .        SAS dismisses any arguments that

the difference in notation makes the rhythmic pattern dissimilar

because , it claims , the rhythms are identical in sound . 0kt . No .

200 Ex. 5      ~    5 . It also argues that syncopated chord changes ,

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occurring on a weak beat , are in both songs . 0kt . No. 200 Ex . 7

~   D. 1 .

        As evidenced by the differences in opinions of the parties '

experts , the question of whether TOL is substantially similar to

LGO cannot be resolved summarily and is left for trial.

         4) Touring Profits Damages

        As a remedy for infringement , a copyright owner is entitled

to recover statutory damages or " actual damages and any

additional profits of the infringer ." 17 U. S . C . A . § 504(a)

(2018). SAS seeks a damages award in the amount of actual

damages plus profits , including all profits relating to touring

revenue , such as concert ticket and concert merchandise sales .

0kt . No . 102    (Third Amended Complaint) .

         In the event that the complaint is not dismissed , both

parties seek partial summary judgment on various issues related

to profits . Sheeran moves for summary judgment to dismiss SAS ' s

claim that the damages award can include touring profits . SAS

opposes the motion and cross moves for summary judgment that

         (i) to the extent there is any burden on Plaintiff to
         establish a link between the separate acts of
         infringement that arose when Sheeran performed TOL at
         concerts and the direct profits from the concerts ,
         that burden has been satisfied ;
         (ii) the numerous references throughout Mr .
         Massarsky ' s report to Plaintiff ' s purported failure to
         meet its causal burden should be struck as




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     inappropriate (as Mr . Massarsky is not a legal expert)
     and wrong ; 1 and
      (iii) if Plaintiff prevails on its copyright
     infringement claim , it will be entitled - at a minimum
     - to the "straight - line " apportionment of direct
     profits arising from the direct infringements advanced
     by Mr . Massarsky , based on the number of songs Mr .
     Sheeran performed at each Ed Sheeran concert .

     In other words , if TOL is found to infringe LGO , the

parties disagree over whether touring profits- the sale of

concert tickets and concert merchandise-can be recovered and in

what amount . SAS alleges that it can recover revenue generated

from concert tickets and merchandise because they are direct

profits . SAS argues it does not need to prove a causal nexus

between the separate acts of infringing public performances and

the direct revenues collected from them . Rather , the burden is

on Sheeran to prove the proper apportionment of those direct

profits to the TOL infringements .

     Sheeran contends that all the touring profits are indirect

profits. Nonetheless , regardless of how the profits are

classified , Sheeran argues SAS must prove a causal nexus between

the infringement and the profits and SAS has not adduced any

evidence that shows TOL specifically caused concertgoers to

purchase Sheeran concert tickets and merchandise sold at his

concerts .



1 SAS ' s motion to strike is denied . There is nothing improper about
Massarsky opining that there is no evidence of a causal link between
tour profits and the alleged infringement .
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      1) Classification of Profits

      Depending on how attenuated profits are from the infringing

act , an infringer ' s profits may be direct or indirect. Complex

Sys ., Inc . v. ABN Ambro Bank N. V., No . 08 CIV . 7497 KBF , 2013 WL

5970065 , at *2   (S.D . N. Y. Nov . 8 , 2013) . Direct profits arise

from the sale of the infringing good . Cohen v . G & M Realty

L . P. , 320 F . Supp . 3d 421 , 446 (E . D. N.Y . 2018) , aff'd sub nom .

Castillo v . G&M Realty L.P ., 950 F . 3d 155 (2d Cir . 2020) ;

Garcia v . Coleman , No . C- 07 - 2279 EMC , 2009 WL 799393 , at *2

(N . D. Cal . Mar. 24 , 2009)   (quoting Mackie v . Rieser , 296 F . 3d

909 , 914   (9th Cir . 2002) . Indirect profits are " derived from the

use of the copyrighted work to promote sales of other products ."

Graham v . Prince , 265 F . Supp . 3d 366 , 388     (S . D.N . Y. 2017) .

      Profits that arise from the performance of a song are

direct whereas profits that may have come about because the

performance acted as a draw for other profit centers are

indirect . Accordingly , profits from the sale of concert tickets

are direct . The profit is arising because the artist was paid to

perform songs and there is an expectation , although not a

guarantee , that an artist will play their most popular ballads .

In comparison , profits from the sale of concert merchandise are

indirect because the source of profits is from the sale of

another good separate from the infringing performance .

      2) Causal Nexus


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        A copyright owner is entitled to recover "any profits of

the infringer that are attributable to the infringement and are

not taken into account in computing the actual damages ." 17

U.S . C . § 504   (2018) . The Copyright Act goes on to describe a

burden - shifting analysis : " In establishing the infringer ' s

profits , the copyright owner is required to present proof only

of the infringer ' s gross revenue , and the infringer is required

to prove his or her deductible expenses and the elements of

profit attributable to factors other than the copyrighted work . "

Id.

        A plaintiff thus has the burden of showing a causal nexus

between the infringement and the gross revenue . Lawton v .

Melville Corp. , 116 F . 3d 1472 (2d Cir . 1997)      (Because "only

those profits attributable to the use of the infringed work " can

be awarded , a copyright owner "must show some nexus between the

gross revenues and the infringement ." ) ; Viktor v . Top Dawg Ent .

LLC , No . 1 8 CIV . 1554 , 2018 WL 5282886 , at *1 (S . D.N . Y. Oct. 24 ,

2018)    ("Significant here , before the burden shifts to the

infringer , a plaintiff must first demonstrate a causal

relationship between the infringement and the defendants '

revenues ." ) . It is insufficient for a copyright owner to "simply

show gross revenues from the sale of everything the defendant

sells ." Id . "[T]he term ' gross revenue ' under the statute means

gross revenue reasonably related to the infringement , not

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unrelated revenues ." On Davis v . The Gap , Inc ., 246 F . 3d 152 ,

160 (2d Cir . 2001)   (holding plaintiff failed to discharge its

burden by submitting evidence of the defendant ' s gross revenues

when the revenue included sales that were in no way promoted by

the infringing advertisement) . In cases of direct profits , the

burden to satisfy the nexus requirement is minimal and may be

obvious . See Lowry ' s Reps ., Inc . v . Legg Mason , Inc. , 271 F.

Supp . 2d 737 , 751 (D . Md . 2003 )    ("In the case of ' direct

profits ,' such as result from the sale or performance of

copyrighted material , the nexus is obvious ." ) ; Data Gen. Corp .

v . Grumman Sys. Support Corp. , 36 F . 3d 1147 , 1173 (1st Cir .

1994) , abrogated on other grounds by Reed Elsevier , Inc . v .

Muchnick , 559 U. S . 154   (2010 )   (" In the context of infringer ' s

profits , the plaintiff must meet only a minimal burden of proof

in order to trigger a rebuttable presumption that the

defendant ' s revenues are entirely attributable to the

infringement ." ).

     Concert Tickets

      SAS has the burden of producing evidence that shows revenue

from the sale of tickets to concerts where TOL was performed .

SAS put forward such evidence in the form of an expert report ,

which calculated that the portion of concert ticket revenue

attributable to the live performance of TOL ranged from 13 . 3 %,

based on a method of calculating according to the Spotify

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streaming statistics , to 23 . 97% , based on calculating according

to the RIAA certified sales. 0kt . No . 205 Ex . 1 at 9- 10 .

     Sheeran disputes this method of calculation. They put

forward a competing expert report that calculates TOL ' s share of

the profits by dividing the Adjusted Show Profits         (a figure

provided by them that subtracts expenses from the total live

income) by the number of songs performed by Ed Sheeran , or , in

the alternative , by the number of songs performed by Mr . Sheeran

and by the opening act(s). 0kt . No . 205 Ex . 2 at 6 , 15 - 20 .

     SAS disputes Sheeran ' s method of calculation and Sheeran ' s

deduction of business management fees , management commissions ,

and UK taxes from the Adjusted Gross Profits figure on the

grounds that those items are not directly attributable to TOL .

0kt . No . 205 Ex . 1 at 8 .

       In light of the dispute between the parties , the proper

calculation of damages should be determined by trial rather than

on summary judgment .

     Concert Merchandise

      SAS has not identified any admissible evidence that ties

the alleged infringement , the live performance of TOL , to the

revenues generated by the sale of concert merchandise .

      Without a showing of " any causal connection between the

infringement and the defendant ' s profits ," it is only

speculative whether the revenue is reasonably related to the

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infringement . On Davis v . The Gap , Inc ., 246 F . 3d 152, 159 (2d

Cir . 2001) . Copyright law does not allow for speculative

recovery, and we can surmise a myriad of reasons why a

concertgoer would purchase concert merchandise , reasons that

have nothing to do with the live performance of TOL.

     Accordingly , if TOL is found to be an infringement of LGO ,

the jury cannot take into account the revenue from concert

merchandise sales when making the damages calculation. See Bayoh

v . Afropunk LLC, No . 18 CV 5820 , 2020 WL 6269300 , at *7

(S . D.N . Y. Oct . 26 , 2020)   ("In cases that involve indirect profit

claims , the district court opinions have underscored that "the

decision to ' send[ ] such claims to a jury should be extremely

rare .'" (alteration in original)) .

                                   CONCLUSION

      Sheeran ' s motion for summary judgment dismissing SAS ' s

claim for infringement is denied. Sheeran ' s motion in the

alternative to dismiss SAS ' s claim to include concert

merchandise revenue in a calculation of damages is granted, but

its motion to dismiss the inclusion of concert ticket sales is

denied.

       Sheeran ' s motion to exclude Dr . Covach ' s and Dr . Everett's

Revised Reports and testimony is granted conditionally on their

present submissions . If , within thirty days from the date of

entry of this Order, they submit reports which comply strictly

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with this Order and the September 9 , 2021 Order , their reports

will be received in evidence and they may testify . Those of

Sheeran ' s objections and disputes with their reports which have

not been specifically addressed by the Court are left to be

dealt with on cross - examination .

      SAS ' s summary judgment motion for a finding that if the

jury finds TOL infringes LGO , SAS has established a link between

the infringing concert performances of TOL and profits arising

from concert ticket sales is granted . It is denied in all other

respects .

      So Ordered .

Dated :    New York , New York
          September  Zf--'2022


                                                  L~ L. st-4#~
                                              LOUIS L . STANTON
                                                  U.S . D. J .




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